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 4                               UNITED STATES DISTRICT COURT
 5                                      DISTRICT OF NEVADA
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 7                                       )
     UNITED STATES OF AMERICA,           )
 8                                       )              2:10-cr-00620-PMP-GWF
                       Plaintiff,        )
 9                                       )              ORDER
                 vs.                     )
10                                       )
     ALEJANDRO RIVAS-JAIME,              )              Substitution of Attorney (#36)
11                                       )
                       Defendant.        )
12   ____________________________________)
13
            On April 20, 2011, Defendant Alejandro Rivas-Jaime, Leslie A. Park, Esq. and the Public
14
     Defender submitted notice that Leslie A. Park would be substituted as counsel for Defendant
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     Alejandro Rivas-Jaime. (#36). Accordingly,
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            IT IS HEREBY ORDERED that Leslie A. Park will be substituted as attorney of record
17
     for Defendant Alejandro Rivas-Jaime in place of the Federal Public Defender.
18
            DATED this 21st day of April, 2011.
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                                                  GEORGE FOLEY, JR.
22                                                UNITED STATES MAGISTRATE JUDGE
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